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1    LAW OFFICES OF JOHNNY L. GRIFFIN III
     JOHNNY L. GRIFFIN III (SBN 118694)
2    SILKY SAHNAN (SBN 242850)
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3    SACRAMENTO, CA 95814
     Telephone: (916) 444-5557
4    Facsimile: (916) 444-5558
5    Attorney for Defendant
     Gurminder Singh
6

7                           IN THE UNITED STATES DISTRICT COURT
8                        FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,                       )   Case No.: 2:06-cr-0238-MCE
                                                     )
11                 Plaintiff,                        )   ORDER TO RECONVEY PROPERTY TO
                                                     )   DEFENDANTS
12          vs.                                      )
                                                     )   DATE: October 31, 2006
13   JASWANT KAUR, SUCHA SINGH, and                  )
     GURMINDER SINGH,                                )
14                                                   )   Hon. Morrison C. England, Jr.
                   Defendants.                       )
15                                                   )
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            Defendants, by and through their undersigned counsel, hereby move the court for an
     order authorizing the Clerk of the United States District Court for the Eastern District of
18   California to reconvey Gurminder Singh, Sucha Singh, and Jaswant Kaur’s passports.
     Passport and receipt number for each defendant is as follows:
19
                                  (1) Jaswant Kaur:               Passport Number: 055388396
20                                                                Receipt Number: 201 12365

21                                (2) Sucha Singh:                Passport Number: E5981473
                                                                  Receipt Number: 201 12364
22
                                  (3) Gurminder Singh:            Passport Number: 056705932
23
                                                                  Receipt Number: 201 12366
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1             An order granting Defendants motion to modify the conditions of Pretrial release
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     was entered on October 26, 2006, which authorized the Defendants to travel to India from
3
     November 17, 2006 to November 22, 2006.
4
                                                          Respectfully submitted,
5

6
             Dated: October 31, 2006                      /s/ Johnny L. Griffin, III
7                                                         JOHNNY L. GRIFFIN, III
                                                          Attorney for Defendant
8                                                         Gurminder Singh

9            Dated: October 31, 2006                      /s/ Mark J. Reichel1__
                                                          MARK J. REICHEL
10                                                        Attorney for Defendant
                                                          Jaswant Kaur
11

12           Dated: October 31, 2006                     /s/ John P. Brennan___
                                                         JOHN P. BRENNAN
13                                                       Attorney for Defendant
                                                         Sucha Singh
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18           IT IS SO ORDERED.

19
     Dated:           11/1/2006
20
                                                      __________________________________
21
                                                      MORRISON C. ENGLAND, JR
22                                                    UNITED STATES DISTRICT JUDGE

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     1
      Mr. Reichel and Mr. Brennan telephonically authorized attorney Johnny L. Griffin, III to sign this proposed order
     on their behalf.
